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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:22-cr-20670

v.                                                          Honorable Thomas L. Ludington
                                                            United States District Judge
ANTHONY DEMASI,

            Defendant.
_______________________________________/

      OPINION AND ORDER DENYING DEFENDANT’S MOTION TO DISMISS
                            INDICTMENT

       Defendant Anthony Demasi is charged with three counts of bank fraud and three counts of

aggravated identity theft for three different schemes to defraud three different banks by filing

fraudulent credit card applications using three people’s identification information without their

knowledge or authorization. In light of a June 2023 Supreme Court decision that clarified the

elements of aggravated identity theft, Defendant seeks dismissal of the three aggravated identity

theft counts, arguing they lack sufficient specificity. But Defendant misconstrues this Supreme

Court case which is factually distinguishable and does not alter the conclusion that the current

Superseding Indictment is sufficiently specific. Accordingly, Defendant’s Motion to Dismiss will

be denied.

                                                I.

       Defendant Anthony Demasi currently faces a six-count Superseding Indictment charging

three counts bank fraud in violation of 18 U.S.C. § 1344(1) (Counts I, III, and V) and three counts

of aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(1) (Counts II, IV, and VI) for

three different schemes to defraud three different banks by filing false credit card applications




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using the full name, date of birth, and Social Security number of three different people without

their knowledge or consent. ECF No. 21.

       The first alleged scheme began on January 4, 2018, when Defendant submitted a credit

card application to Barclays Bank Delaware (Barclays) using “Person A’s” identification

information. Id. at PageID.77–79. The second alleged scheme began on March 6, 2018, when

Defendant submitted another false credit card application to JP Morgan Chase Bank NA (Chase)

using “Person B’s” identification information. Id. at PageID.79–80. The third and final alleged

scheme began on August 31, 2018, when Defendant submitted yet another false credit card

application to Capital One Bank NA (Capital One) using “Person C’s” identification information.

Id. at PageID.81–82.

       On July 20, 2023, Defendant filed a Motion to Dismiss Counts II, IV, and VI of the

Superseding Indictment (the “aggravated identity theft counts”) for lack of specificity arguing they

fail to specify who Persons A, B, and C are, how Defendant obtained these identities, and how the

identities were used in relation to the alleged bank fraud schemes. ECF No. 27 at PageID.94–97.

Defendant argues that the Supreme Court’s recent holding in Dubin v. United States, 599 U.S. 110

(2023)—which clarified how the word “use” is interpreted under 18 U.S.C. § 1028A(a)(1)—

requires the Superseding Indictment to show that Defendant’s use of the alleged victim’s identities

was at the “crux” of what made the underlying bank fraud criminal. See id. at PageID.97–103.

       In response, the Government argues that Dubin is inapplicable and that Defendant’s “use”

of the victim’s personal identification information "was the crux of what made his conduct

criminal.” ECF No. 32 at PageID.155. The Government also proffers additional facts.1 See id. at



1
  The Government claims that Persons A, B, and C were all college students hired by Defendant
to work for Defendant’s consulting firm, Goldman Advisors, in late 2017 and early 2018. See
generally ECF No. 32 at PageID.151–55. The Government alleges that, throughout the interview

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PageID.151–55. Ultimately, the Government argues that the aggravated identity theft counts are

properly pled, as they “clearly and concisely state the elements of the offense, the basic facts

underlying the offense, and put [Defendant] on clear notice of the charges he faces, while

protecting him from later being charged with the same offense.” Id. at PageID.155.

                                                 II.

       An indictment is sufficient if it (1) “contains the elements of the offense charged and fairly

informs the defendant of the charge against which he must defend,” and (2) “enables him to plead

an acquittal or conviction in bar of future prosecutions for the same offense.” United States v. Coss,

677 F.3d 278, 287 (6th Cir. 2012) (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)).

Although the indictment may “state[] the offense using the words of the statute itself, as long as

the statute fully and unambiguously states all the elements of the offense,” United States v.

Landham, 251 F.3d 1072, 1079 (6th Cir. 2001), “it must be accompanied with such a statement of

the facts and circumstances as will inform the accused of the specific offense, coming under the

general description, with which he is charged,” Hamling, 418 U.S. at 117–18 (internal quotation

marks and citation omitted).




process, Defendant asked A, B, and C for their full names, dates of birth, and Social Security
numbers and that each provided the requested personal identification information, believing it was
needed for income-tax reporting purposes. Id. Instead, the Government alleges, Defendant used A,
B, and C’s information to submit three online credit card applications to Barclays, Chase, and
Capital One, respectively, without the authorization or knowledge of A, B, or C. Id. Although one
credit card application was denied, the Government alleges that Defendant charged a total of nearly
$14,000 to the other two cards and even represented himself as Person C in phone conversations
with Capital One to obtain a card and continue charging it. Id. Although this information is helpful
context, Defendant correctly points out that Defendant’s “motion to dismiss is about the charge,
not the facts the [G]overnment believes it may show at the time of trial. The Court, therefore, need
not consider” this factual context as “the question presented involves the face of the . . .
Superseding Indictment.” ECF No. 33 at PageID.164; see United States v. Landham, 251 F.3d
1072, 1079 (6th Cir. 2001) (“[C]ourts evaluating motions to dismiss do not evaluate the evidence
upon which the indictment is based.”)

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       Importantly, “Courts u[s]e a common-sense construction in determining whether an

indictment sufficiently informs a defendant of an offense[,]” United States v. Ross, No. 1:23-CR-

20168, 2023 WL 4747370, at *1 (E.D. Mich. July 25, 2023); United States v. Maney, 226 F.3d

660, 663 (6th Cir. 2000); Allen v. United States, 867 F.2d 969, 971 (6th Cir. 1989)), and “an

indictment is to be construed liberally in favor of its sufficiency.” United States v. Lee, 919 F.3d

340, 349 (6th Cir. 2019) (quoting United States v. McAuliffe, 490 F.3d 526, 531 (6th Cir. 2007)).

Indeed, “[t]he indictment must be read as a whole, accepting the factual allegations as true, and

construing those allegations in a practical sense with all the necessary implications.” Id.

                                                III.

       Counts II, IV, and VI of the Superseding Indictment sufficiently allege aggravated identity

theft because the criminal statute, 18 U.S.C. § 1028A(a)(1) contains the elements of the offense

and each Count fully alleges each element with enough factual specificity to place Defendant on

notice of the specific offense charged. Contrary to Defendant’s argument, Dubin does not mandate

a different conclusion. Accordingly, Defendant’s Motion to Dismiss will be denied.

                                                 A.

       In 2004, Congress passed the Identity Theft Penalty Enhancement Act, 18 U.S.C. § 1028A,

which criminalized aggravated identity theft as a sentencing enhancement in response to national

concerns about identity theft following the attacks of September 11, 20012 and concerns that

“existing laws did not sufficiently deter repeat offenders, many of whom used new technology that

made it easier to collect other people’s information.” Shang-Chi Andrew Liu, What's the Use?:

Interpreting the Term "Uses" in the Aggravated Identity Theft Provision, 89 U. CHI. L. REV. 1289,



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  Indeed, subsection (b) of the criminal statute applies a more significant enhancement for the
transfer, possession, or use of another’s identity during and in relation to a terrorism offense. See
18 U.S.C. § 1028A(b).

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1297 (2022). Defendant is specifically charged with three violations of 18 U.S.C. § 1028A(a)(1)

which provides:

       [w]hoever, during and in relation to any felony violation enumerated in subsection
       (c),3 knowingly transfers, possesses, or uses, without lawful authority, a means of
       identification of another person shall, in addition to the punishment provided for
       such felony, be sentenced to a term of imprisonment of [two] years.

18 U.S.C. § 1028A(a)(1). As evident from the language, the elements of aggravated identity theft

include: (1) that the defendant committed a qualifying predicate felony enumerated in § 1028A(c);

(2) that the defendant knowingly transferred, possessed, or used a means of identification of

another person without lawful authority; (3) that the defendant knew the means of identification

belonged to another person; and (4) that the transfer, possession, or use was “during and in relation

to” the § 1028A(c) predicate felony. See PATTERN CRIM. JURY INSTR. 6th Cir. 15.04, at 407 (2023).

       In Dubin v. United States, decided on June 8, 2023, the Supreme Court clarified the

interpretation of the second and fourth elements listed above—that a defendant used another’s

identification information without lawful authority in relation to or during the commission of a

predicate felony. See Dubin, 599 U.S. at 116–18. In Dubin, petitioner David Dubin—who helped

manage a psychological service company—submitted a reimbursement claim to Medicaid

representing that a licensed phycologist had performed testing services when, in reality, only a

licensed phycological associate had. Id. at 114. “This falsehood inflated the amount of the

reimbursement.” Id. As a result, Defendant was convicted with the predicate crime of healthcare

fraud, 18 U.S.C. § 1347, and aggravated identity theft, 18 U.S.C. § 1028A(a)(1). Id. at 114–15.




3
  Subsection (c) states that “any provision contained in chapter 63” qualifies as a predicate felony
for aggravated identity theft. 18 U.S.C. § 1028A(c)(5). Importantly, bank fraud, 18 U.S.C. § 1344,
as charged within Counts I, III, and V of the Superseding Indictment, is “contained in chapter 63”
and, therefore, is a qualifying predicate felony for aggravated identity theft. See 18 U.S.C. § 1344;
ECF No. 21 at PageID.77, 79–82.


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        The Government charged Dubin with aggravated identity theft because “[his] fraudulent

billing included [a] patient’s Medicaid reimbursement number” and the Government interpreted

this Medicaid number as a “means of identification” under § 1082A(a)(1). Id. at 115. Dubin

challenged his aggravated identity theft conviction, arguing that he did not use a patient’s identity

when overbilling Medicaid and that, under § 1082A(a)(1), “the means of identification [must be]

at the crux of what makes the predicate offense criminal, rather than merely an ancillary feature[.]”

Id. at 117.

        Although the District Court seemingly agreed with Dubin, noting his case did not “seem to

be an aggravated identity theft case[,]” it affirmed his conviction based on Fifth Circuit precedent.

Id. at 115. On appeal, the Fifth Circuit affirmed and, on rehearing en banc, affirmed again. Id. The

Supreme Court granted certiorari to address a circuit split regarding how to interpret “use” and “in

relation to,” within the aggravated identity theft statute. The Court ultimately found in favor of

Dubin and a narrow interpretation of the statute. Id. at 116. Specifically, the Court held:

        A defendant “uses” another person's means of identification “in relation to” a
        predicate offense when this use is at the crux of what makes the conduct criminal.
        To be clear, being at the crux of the criminality requires more than a causal
        relationship, such as “facilitation” of the offense or being a but-for cause of its
        “success.” Instead, with fraud or deceit crimes like the one in this case, the means
        of identification specifically must be used in a manner that is fraudulent or
        deceptive. Such fraud or deceit going to identity can often be succinctly
        summarized as going to “who” is involved.

        Here, [Dubin’s] use of the patient's name was not at the crux of what made the
        underlying overbilling fraudulent. The crux of the healthcare fraud was a
        misrepresentation about the qualifications of [Dubin’s] employee. The patient's
        name was an ancillary feature of the billing method employed.

        Id. at 131–32 (emphasis added).

        Here, Defendant argues the aggravated identity theft counts should be dismissed for lack

of specificity because “Dubin teaches that aggravated identity theft is more than simply using




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someone’s identification in connection with a listed offense.” ECF No. 27 at PageID.101.

Defendant argues “[t]he aggravated identity theft counts here provide no information whatsoever

on how the identification was obtained[,]” nor do they provide information “as to whose

identification is at issue with what bank[.]” Id. at 102.

        But Defendant’s argument misconstrues Dubin and misunderstands the nature of the

predicate felony bank fraud charges he faces. In reaching its holding in Dubin, the Supreme Court

expressly relied on the Sixth Circuit’s 2018 decision in U.S. v. Michael. In Michael, a pharmacist-

defendant was charged with health care fraud and aggravated identity theft because he fraudulently

submitted payment claims to an insurance company for dispensing medication “which was never

dispensed” using the unauthorized “identification information” of a doctor and a patient to do so.

United States v. Michael, 882 F.3d 624, 625 (6th Cir. 2018). The district court dismissed the

aggravated identity theft count, interpreting the statute to only cover impersonation. Id. at 626. The

Sixth Circuit reversed and developed a helpful heuristic: an aggravated identity theft charge will

not lie when the defendant’s misrepresentation at the crux of the predicate fraud goes to the how,

when, or why. See id. at 628–29. On the other hand, an aggravated identity theft charge is proper

when the misrepresentation at the crux of the fraud concerns who was involved. See id. at 629. The

Sixth Circuit reasoned that, in the former circumstance, “the defendant used the means of

identification in spite of the fraud [but,] in the other, [] used the means of identification because of

the fraud.” Id. (emphasis added).

        In Dubin, the Supreme Court expressly endorsed and relied on this heuristic, noting that,

although it will have its limits, “it neatly captures the thrust of the analysis, as [Dubin’s] fraud was

in misrepresenting how and when services were provided to a patient, not who received the

services.” Dubin, 599 U.S. at 132 (emphasis in original). Indeed, the Supreme Court agreed with




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Dubin when he argued, relying on Michael, that his predicate fraud of overbilling Medicaid was

quite different than that of a “pharmacist who swipes [patient] information from the pharmacy’s

files and uses it to open a bank account in a patient's name” because, this “use” of another’s

identification information would be integral to what made the conduct fraudulent, as the

misrepresentation at the crux of the fraud was about who was involved. Dubin at 117–18.

       But, here, like this hypothetical pharmacist, Defendant’s alleged bank fraud schemes were

all about the who. And the Superseding Indictment is sufficiently specific as to both this underlying

predicate fraud and Defendant’s unauthorized “use” of another’s identification information.

                                             B.

       Each aggravated identity theft count within the Superseding Indictment alleges:

       [I]n the Eastern District of Michigan, [Defendant] did knowingly use, without
       lawful authority, a means of identification of another person during and in relation
       to a felony violation enumerated in 18 U.S.C. § 1028A(c)(5), to wit: Bank Fraud in
       violation of [18 U.S.C. § 1344], knowing that the means of identification belonged
       to another actual person, in violation of [18 U.S.C. § 1028A(a)(1)].

ECF No. 21 at PageID.78–80, 82. Indeed, the only differentiating feature of each aggravated

identity theft count is the date. Count II alleges that Defendant used another’s identity without

authorization to commit bank fraud “[o]n or about January 4, 2018,” id. at PageID.78, Count IV

alleges the same occurred “[o]n or about March 6, 2018,” id. at PageID.80, and Count VI alleges

the same occurred “[o]n or about August 31, 2018.” Id. at PageID.82.

       Viewing the aggravated identity theft counts in isolation; each faithfully recites the

elements of 18 U.S.C. § 1028A(a)(1). See id. at PageID.78–80, 82; see also PATTERN CRIM. JURY

INSTR. 6th Cir. 15.04, at 407 (2023). Each also sufficiently places Defendant on fair notice of the

specific offenses contemplated by alleging the specific date that each aggravated identity theft

allegedly occurred. See ECF No. 21 at PageID.78–80, 82.




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       Viewing the indictment as a whole, each aggravated identity theft count (Counts II, IV, and

VI) immediately follows a corresponding bank fraud count (Counts I, III, and V). See generally

ECF No. 21. In this way, the Superseding Indictment is best thought of as charging three sets of

criminal conduct, each containing one bank fraud count and one aggravated identity theft count

which both reference one another. In addition to specifying both the bank and person involved in

each alleged bank fraud scheme, each bank fraud count references the corresponding aggravated

identity theft count by alleging Defendant defrauded each bank by “fraudulently applying for a

credit card in the name of a third party and using[,] without lawful authority[,] the personal

identification information of an unwitting third party to include: name, date of birth, and Social

Security number.” Id. at PageID.78–81.

       And each aggravated identity theft count references the corresponding bank fraud count,

too. First, each aggravated identity theft count specifically alleges that Defendant’s knowing and

unauthorized use of another’s personal identification information occurred during and in relation

to the specific crime of bank fraud, rather than a general qualifying predicate felony enumerated

in § 1028A(c). Id. at PageID.79–80, 82. Second, the dates listed on each aggravated identity theft

count do more than merely put Defendant on fair notice of the charged conduct in each isolated

count, they also match the date that each bank fraud scheme allegedly occurred. In Count II, the

Superseding Indictment alleges Defendant’s first instance of aggravated identity theft occurred on

January 4, 2018 and, in Count I, the Superseding Indictment alleges Defendant’s first bank fraud

scheme began on this same date. Id. at PageID.77–78. Similarly, Count IV alleges Defendant’s

second aggravated identity theft occurred on March 6, 2018—the same date that Count III alleges

Defendant’s second bank fraud began. Id. at PageID.79–80. And Count VI alleges Defendant’s




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third aggravated identity theft occurred on August 31, 2018, which matches the date Count V

alleges Defendant’s third bank fraud began. Id. at PageID.81–82.

       In sum, whether the aggravated identity theft counts are read in isolation or in context of

the Superseding Indictment as a whole, the conclusion is the same: the counts contain the elements

of the charged offense and fairly inform Defendant of the contemplated criminal conduct. The

aggravated identity theft counts are sufficiently specific. See Coss, 677 F.3d at 287 (6th Cir. 2012).

       Yet, in his Reply to the Government’s Response to his Motion to Dismiss, Defendant cites

United States v. Gladden, a nonbinding Eleventh Circuit case, as an example of a post-Dubin case

invalidating an aggravated identity theft charge “if it does not allege that the use of the identity

was at the crux of the criminality.” ECF No. 33 at PageID.166. But Defendant is once again

mistaken.

       Gladden concerned a claim that a conviction lacked sufficient evidence; not that an

indictment lacked specificity. United States v. Gladden, 78 F.4th 1232, 1242 (11th Cir. 2023). In

Gladden, two defendants defrauded insurance companies by obtaining inflated reimbursements.

Id. at 1239–40. One of the defendants—Linton—forged the identity of patients to “continue

refilling prescriptions in their names, even through they were neither aware of nor received any

products.” Id. at 1245. The other defendant—Gladden—merely helped obtain medically

unnecessary perceptions using pre-filled forms but did not misrepresent the identity of the patient

in the process. Id. at 1248–49. Consistent with the Sixth Circuit’s heuristic in Michael, endorsed

by the Supreme Court in Dubin, the court in Gladden affirmed Linton’s aggravated identity theft

conviction because Linton’s “deception centered on the identity of the individual receiving the

product.” Id. at 1245. And although the court vacated Gladden’s aggravated identity theft

conviction, it did so only because (1) unlike Linton, Gladden’s misrepresentations did not involve




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who received prescriptions and, instead, involved only whether the prescriptions were medically

necessary; and (2) the jury instructions at trial failed to reflect the ways in which Dubin altered the

interpretation of the aggravated identity theft statute. Id. at 1248–49. Indeed, Gladden is devoid of

any discussion as to the specificity of the charging indictment.

        A better example of a post-Dubin case concerning indictment sufficiency is United States

v. Percell. But this case supports, rather than undermines, the conclusion that the Superseding

Indictment here was sufficiency specific. In Percell, a defendant who used a deceased person’s

name and Social Security number to obtain financial benefits filed a motion to dismiss the

aggravated identity theft count alleged against him in light of Dublin. United States v. Percell, No.

CR 22-259, 2023 WL 5538026, at *1 (E.D. Pa. Aug. 27, 2023). But the Eastern District of

Pennsylvania denied the defendant’s motion because the crux of the predicate fraud involved

misrepresentations about who was receiving benefits. Id. at *3. More importantly, the sole

aggravated identity theft count within the larger twelve-count Percell indictment merely alleged:

        [The d]efendant knowingly and without lawful authority, used a means of
        identification of another person, that is, the name, birthdate, and social security
        number of “D.S.,” during and in relation to passport fraud, in violation of Title 18,
        United States Code, Section 1542.

        In violation of Title 18, United States Code, Sections 1028A(a)(1), (c)(1).

Id. at *2. Like the aggravated identity theft counts here, the Percell aggravated identity theft count

did not specifically name the individual whose identification information was used by the

defendant, did not specify how the defendant obtained this information or used it in relation to the

predicate fraud, and did not specify the defrauded agency or organization. Yet the indictment was

still sufficiently specific. The same result here.

        In sum, under a common sense reading of the Superseding Indictment, the aggravated

identity theft counts Defendant seeks to dismiss are sufficiently specific. Each contain the elements



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of the criminal statute and contain enough information to place Defendant on fair notice of the

specific offense alleged in each count.

                                                 C.

       Lastly, this Court turns to Defendant’s assertion that the aggravated identity theft statute is

unconstitutionally vague. In his Motion to Dismiss, Defendant discusses Justice Gorsuch’s Dubin

concurrence which viewed 18 U.S.C. § 1028A as unconstitutionally vague. ECF No. 27 at

PageID.100–101; see also Dubin, 599 U.S. at 133 (Gorsuch, J., concurring). Indeed, buried in a

footnote at the end of Defendant’s Motion to Dismiss, he argues “[n]eedless to say, an alternative

basis for relief here is that the offense alleged in the three [aggravated identity theft] counts is

unconstitutionally vague[.]” Id. at PageID.103. But Defendant again misconstrues Dubin and cites

case law which bellies his own argument. In Gladden, the post-Dubin case cited by Defendant

discussed above, the Eleventh Circuit specifically declined to find § 1028A unconstitutionally

vague because the “question of vagueness was not directly before the Court in Dubin” and the

majority noted its express disagreement with Justice Gorsuch’s analysis. Gladden, 78 F.4th at

1247; see also Dubin, 599 U.S. at 132 n.10 (“The concurrence's bewilderment is not, fortunately,

the standard for striking down an Act of Congress as unconstitutionally vague.”). This Court

follows suit for the same reasons.

                                                IV.

       Accordingly, it is ORDERED that Defendant’s Motion to Dismiss Counts II, IV, and VI

of the Superseding Indictment, ECF No. 27, is DENIED.

       This is not a final order and does not close the above-captioned case.


       Dated: October 12, 2023                                s/Thomas L. Ludington
                                                              THOMAS L. LUDINGTON
                                                              United States District Judge



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